                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                          AT KNOXVILLE


  STATE OF TENNESSEE, et al.,                         )
                                                      )
       Plaintiff,                                     )
                                                      )
  v.                                                  )           No. 3:24−cv−00224−CEA−DCP
                                                      )
  EQUAL EMPLOYMENT OPPORTUNITY                        )
  COMMISSION, et al.,                                 )
                                                      )
       Defendant.



                            ORDER GOVERNING MOTIONS TO DISMISS



     This Order Governing Motions to Dismiss sets forth the meet and confer requirements that must be
  certified before filing a motion to dismiss in this Court.

     A motion pursuant to Federal Rule of Civil Procedure 12(b) is discouraged if the defect is likely to be
  cured by filing an amended pleading. Therefore, the parties must meet and confer prior to the filing of a
  motion to dismiss to determine whether it can be avoided. The duty to confer also applies to parties
  appearing pro se. Consequently, a motion to dismiss must be accompanied by a notice indicating that the
  parties have conferred to determine whether an amendment could cure a deficient pleading, and have
  been unable to agree that the pleading is curable by a permissible amendment.

    MOTIONS TO DISMISS THAT DO NOT CONTAIN THE REQUIRED CERTIFICATION ARE
  SUBJECT TO BEING STRICKEN ON THE COURT'S MOTION.

     IT IS FURTHER ORDERED that pro se parties familiarize themselves with the Federal Rules of
  Civil Procedure and Local Rules for the Eastern District of Tennessee, which can be found on the Court's
  web site at http://www.tned.uscourts.gov.

  IT IS SO ORDERED.

                                                  s/Charles E Atchley, Jr
                                                  UNITED STATES DISTRICT JUDGE




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